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 DEFENDANT:            JOSEPH EUGENE CLEMENTS

 YOB/AGE:              1978

 COMPLAINT             ______ Yes       ____x___ No
 FILED?
                       If Yes, MAGISTRATE CASE NUMBER_____________

 OFFENSE(S):            (1) 21 U.S.C. § 846 Conspiracy to possess w/ intent to distribute a controlled
                            substance
                        (2) 21 U.S.C. § 846 Conspiracy to manufacture a controlled substance
                        (3) 21 U.S.C. § 841(a)(1) Distribution of a controlled substance

 LOCATION OF           Boulder County, CO
 OFFENSE:

 PENALTY:               (1) 21 U.S.C. § 846: NMT 20 years imprisonment; NLT 3 years SR; NMT life
                            SR; NMT $1,000,000 fine, or both; $100 SA
                        (2) 21 U.S.C. § 846: NMT 20 years imprisonment; NLT 3 years SR; NMT life
                            SR; NMT $1,000,000 fine, or both; $100 SA
                        (3) 21 U.S.C. § 841(a)(1): NMT 20 years imprisonment; NLT 3 years SR; NMT
                            life SR; NMT $1,000,000 fine, or both; $100 SA

 AGENT:                HSI SA Kevin Vassighi


 AUTHORIZED            Andrea Surratt
 BY:                   Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:


 x   five days or less ____ over five days

THE GOVERNMENT

X will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is not applicable to this defendant.




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